
I dissent. As my colleagues have pointed out, there is no evidence that Matthew S. has suffered, nor is there a substantial risk that he will suffer, serious physical harm or illness as a result of Alexandra S.'s *Page 1322 
supervision or protection of him. (Welf. Inst. Code, § 300, subd. (b).)1 Neither is there any showing of such harm from willful or negligent failure to provide food, clothing, shelter or medical treatment. (§ 300, subd. (b).) The majority further acknowledges there is no evidence that Matthew S. is without any provision for support. Alexandra S. has supported her children in a well-kept three-bedroom home by obtaining various jobs over the ten years since her divorce, despite erratic payments of child and spousal support by her ex-husband. (§ 300, subd. (g).) Her children are healthy, well groomed, and she has consistently obtained medical care for them over the years. There is no evidence of neglect or of lack of support for Matthew S.
The majority concludes there is substantial evidence to support the finding of the juvenile court that Matthew S. is at risk of developing severe emotional problems in the future as the result of her inclusion of him in her delusions, under section 300, subdivision (c).
But, as the majority states, there is no evidence that any of the children have yet suffered emotional harm at the hands of Alexandra S. The record does not show that the juvenile court has ever taken jurisdiction over any of these children before. One of the children, Lana S., is an adult. Sarah S. is now over 16, and the court dismissed the petition as to her. And Matthew S. was 13 at the time the San Luis Obispo County Department of Social Services (the Department) petitioned the court for jurisdiction over him. Given the record before us today, we have no evidence to prognosticate a strong potential for future severe emotional damage to Matthew S.
The majority states that Alexandra S. brings a sense of dread, danger and catastrophe to the lives of her children through her delusions. This is speculation only. The evidence does not support that conclusion. Doctor Davis observed that Matthew and Sarah S. "express no fear of their mother and appear to be healthy, and reasonably well-adjusted." Doctor Beryl Davis concluded that although Sarah S. and Matthew S. are confused about their mother's delusional status, they both appear to be "able to recognize their mother's delusions and to deal adequately with them." As the majority points out, Hillsinger found that Sarah S. and Matthew S. "have a good, warm relationship, a close, loving relationship that would be the envy of many mothers with teenage children."
The majority suggests that Matthew S.'s understandable reticence to express his feelings to Lance Hillsinger and to Doctor Davis, and his reluctance to obtain assistance from them, establishes the need for judicial dependency. I disagree. Section300, subdivision (c) requires the Department *Page 1323 
to prove that a child is at substantial risk of sufferingsevere emotional damage as evidenced by severe anxiety,depression, withdrawal or untoward aggressive behavior before the juvenile court may assume jurisdiction. (§§ 300, subd. (c), 355.)
By its revision of section 300 to include subdivision (c), the Legislature explained that it wanted "`to provide more clear-cut guidance to social workers and judges regarding the types of situations which the Legislature considers abusive or neglectful.'" (In re Alexander K. (1993) 14 Cal.App.4th 549, 558-559 [18 Cal.Rptr.2d 22].) The new legislation provided definitions which focus on specific harms to a child. (Id. at p. 559.) "`The legislative history thus confirms an unmistakable intention to narrow the grounds on which children may be subjected to juvenile court jurisdiction.'" (Ibid.; see alsoIn re Rocco M. (1991) 1 Cal.App.4th 814, 820-824 [2 Cal.Rptr.2d 429]; In re Heather P. (1988) 203 Cal.App.3d 1214, 1228-1229 [250 Cal.Rptr. 468], overruled on other grounds in Inre Richard S. (1991) 54 Cal.3d 857, 866, fn. 5 [2 Cal.Rptr.2d 2,819 P.2d 843].) That Alexandra S. is delusional does not mean that Matthew S. is likely to suffer severe emotional harm. (Inre Heather P., supra, at pp. 1228-1229; In re Jamie M. (1982)134 Cal.App.3d 530, 540-542 [184 Cal.Rptr. 778].)
Although Doctor Davis found Matthew S. to be shy and uncomfortable in talking to her about his mother's beliefs regarding his genitals, she also stated that he is "polite and cooperative about providing information." We should not conclude that his shyness and protective nature constitute severe anxiety, depression, withdrawal or untoward behavior justifying judicial intervention. Doctor Davis found Matthew S. to be a reasonably well-adjusted teenager.
On this record, it is speculation to predict that some catastrophic event could occur which would create a substantial risk that Matthew S. will suffer serious emotional harm. Where children, as here, do not fall within the descriptions of section300, the Department may still offer voluntary services pursuant to section 300 But, section 300
expressly provides that it is not intended "to disrupt the family unnecessarily or to intrude inappropriately into family life. . . ." (And see Laurie S. v. Superior Court (1994) 26 Cal.App.4th 195, 199-200 [31 Cal.Rptr.2d 506].)
The Department's intervention has disrupted the family already. Although the orders permit the children to remain with their mother, the case plan and the other orders of the court restrict the family and require it to accede to the intervention of the Department. The case plan requires Alexandra S. to cooperate with announced, as well as unannounced home calls. It also *Page 1324 
requires her and her children to participate in therapy, including in-home counseling. Furthermore, it requires Alexandra S. to facilitate telephone contact between her children and their father, who lives in Brazil. The family feels intruded upon by such involvement of the Department in their lives.
Both Matthew S. and Sarah S. have a good, warm, close relationship with Alexandra S. that would be the envy of many mothers. Matthew S. does not exhibit severe anxiety, depression, withdrawal or untoward aggressive behavior. He is a polite, reasonably well-adjusted teenager. Substantial evidence does not support the finding of jurisdiction over Matthew S. and the concomitant intrusion of the Department into the lives of this family. (See In re Alexander K., supra, 14 Cal.App.4th at pp. 558-559.)
I would reverse the jurisdictional and dispositional orders and direct the juvenile court to dismiss the instant petition.
1 All further statutory references are to the Welfare and Institutions Code. *Page 1325 